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®AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 1 Revised by WAED - 11/16

UNITED STATES DISTRICT COURT LED INTHE

US. HISTRICT COURT

Eastern District of Washington —_ rastrennisiricrorwasnincton

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UNITED STATES OF AMERICA RESENTENCING JUDGMENT 54
fe SEAN F. McAVOY, CLERK
MICHAEL JAMES JORDAN, JR. Case Number: 2:11CR00195-EFS-1 Ka

+ RIGHLAND, WASHINGTON
USM Number: 14078-085

Alison Guernsey
Defendant’s Attorney

Date of Original Judgment 07/25/2012

r

THE DEFENDANT:

Y pleaded guilty to count(s) 1 and 2 of the Information

L] pleaded nolo contendere to count(s)
which was accepted by the court.

CJ was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. § 841(a)(1) Possession with the Intent to Distribute a Mixture or Substance Containing a 10/21/11 Is
Detectable Amount of Methamphetamine
18 U.S.C. § 924(c) Felon in Possession of a Firearm in Furtherance of a Drug Trafficking Crime 10/21/11 2s
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(] The defendant has been found not guilty on count(s)

w Count(s) Any remaining Counts Olis Yl are dismissed on the motion of the United States.

_., It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

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The Honorable Edward F. Shea Senior Judge, U.S. District Court
Name and Title of Judge

DPiovemAshter Le, Ao LL

11/9/2016 |

Date of Imposifioy/of tk
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Signature of Judge

Date
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AO 245B (Rev. 11/16) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: MICHAEL JAMES JORDAN, JR.
CASE NUMBER: 2:11CR00195-EFS-1

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 96 months total,

which consists of 36 months on Count 1s and 60 months on Count 2s, to be served consecutively.

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

wv The court makes the following recommendations to the Bureau of Prisons:
Placement at FCI Sheridan, Oregon.
Defendant receive maximum number of days available in the BOP Residential Reentry Center Program.

yw The defendant is remanded to the custody of the United States Marshal.

[1 The defendant shall surrender to the United States Marshal for this district:
Cl at Oam OO pm. on

L] asnotified by the United States Marshal.

L] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 p.m. on

[] as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

RETURN

Thave executed this judgment as follows:

Defendant delivered on to

, with a certified copy of this judgment.

UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL

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AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: MICHAEL JAMES JORDAN, JR.
CASE NUMBER: 2:11CR00195-EFS-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of : 3 years

on Count 1s and 5 years on Count 2s, to run concurrently

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
(1 The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
7 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
C1 You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
are a student, or were convicted of a qualifying offense. (check if applicable)

6. [ You must participate in an approved program for domestic violence. (check if applicable)

Ww

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

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AO 245B (Rev. 11/16) Judgment in a Criminal Case
. Sheet 3A — Supervised Release

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DEFENDANT: MICHAEL JAMES JORDAN, JR.
CASE NUMBER: 2:11CR00195-EFS-1

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must be truthful when responding to the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in accordance
with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any materia! change in your economic
circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special assessments.

13, You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov. ,

Defendant's Signature Date

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Sheet 3D — Supervised Release

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DEFENDANT: MICHAEL JAMES JORDAN, JR.
CASE NUMBER: 2:11CR00195-EFS-1

SPECIAL CONDITIONS OF SUPERVISION

1. You shall not associate with known criminal street gang members or their affiliates.

2. You shall submit your person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a sensible
time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
submit to search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be
subject to search.

3. You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
further order of the court. You shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal
disclosure between the supervising officer and treatment provider.

4. You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as directed by
the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

5. You shall not enter into or remain in any establishment where alcohol is the primary item of sale. You shall abstain from alcohol and
shall submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in order to
confirm continued abstinence from this substance.

6. You shall reside in a residential reentry center (RRC) for a period up to 180 days at the direction of the supervising officer. Your
participation in the programs offered by the RRC is limited to employment, education, treatment, and religious services at the direction
of the supervising officer. You shall! abide by the rules and requirements of the facility.

7. You shall provide the supervising officer with access to any requested financial information, including authorization to conduct
credit checks and obtain copies of your federal income tax returns. You shall disclose all assets and liabilities to the supervising
officer. You shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the supervising officer.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case

Sheet 5 — Criminal Monetary Penalties

DEFENDANT: MICHAEL JAMES JORDAN, JR.

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CASE NUMBER: 2:11CR00195-EFS-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS S$ $200.00 $ $0.00 $ $0.00 $ $0.00
C1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

OC The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.
Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00
Restitution amount ordered pursuant to plea agreement $
The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
[]_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

C1 the interest requirement is waived forthe [] fine [1 restitution.

C1 the interest requirement forthe 0] fine 1 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. . .
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: MICHAEL JAMES JORDAN, JR.
CASE NUMBER: 2:11CR00195-EFS-1

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [] Lump sum payment of $ due immediately, balance due

[| not later than , or
[] inaccordance [fl c, [1 D, 1 E,or CJ F below; or

B w Payment to begin immediately (may be combined with (JC, 1D, or MF below); or

C (1 Paymentinequal ———_—_ (e.g, weekly, monthly, quarterly) installments of $§ ___=s—soverr'a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (1 Paymentinequal _——s——_ (e.g, weekly, monthly, quarterly) installments of $ __ sé. period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (1 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Mw Special instructions regarding the payment of criminal monetary penalties:

Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
penalties are payable on a quarterly basis of not less than $25.00 per quarter.

While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the peroid of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to thé following address until monetary penalties are paid in full: Clerk, U.S. District
Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
L] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[J The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

i The defendant shal! forfeit the defendant’s interest in the following property to the United States:
Glock, model 23, .40 caliber pistol, bearing serial number EME] 123, marked "AUSTRIA"

Payments shall be applied in the following order: (1) assessment, @ restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (3) costs, including cost of prosecution an
court costs.
